914 F.2d 1493Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Russell Smith WYATT, Jr., Defendant-Appellant.
    No. 90-6332.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 27, 1990.Decided Sept. 27, 1990.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Norfolk.  John A. MacKenzie, Senior District Judge.  (CR No. 78-108-N)
      Russell Smith Wyatt, Jr., appellant pro se.
      Larry Shelton, Office of the United States Attorney, Norfolk, Va., for appellee.
      E.D.Va.
      AFFIRMED.
      Before SPROUSE and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Russell Smith Wyatt, Jr. appeals from the district court's order denying Wyatt's request for reconsideration of his Fed.R.Crim.P. 35 motion.*   Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Wyatt, CR No. 78-108-N (E.D.Va. May 11, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    
      
        *
         Wyatt's notice of appeal was timely as to the denial of the motion for reconsideration but untimely as to the denial of the Rule 35 motion.  See Fed.R.App. 4(b)
      
    
    